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                              UNITED STATES DISTRICT COURT
                                                                                       FILED
                               WESTERN DISTRICT OF TEXAS
                                                                                     APR 13         201
                                  SAN ANTONIO DIVISION

  UNITED STATES OF AMERICA,                           §        nalNo
                                                                                 CLERK,
                                                                                WESTERN    DrES
                                                                                          U.S. DI   TRIC   ERK




                                                      §    [Violation:
                                                      §   Count 1: 18 U.S.C. § 922(a)(1)(A),
 RICARDO SERRANO,                                     §   Engaging in Business of Dealing Firearms
         Defendant                                    §   without a License]
                                                      §




THE UNITED STATES ATTORNEY CHARGES:



                                          COUNT ONE
                                    [18 U.S.C. § 922(a)(1)(A)]

       Begiiming in or about June 2016 and continuing through in or about December 2017, in

the Western District of Texas, and elsewhere, the Defendant,

                                     RICARDO SERRANO,

who not being a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United

States Code, did willfully engage in the business of dealing in firearms, in violation of Title 18,

United States Code, Sections 922(a)(1)(A) and 924(a)(1)(D).


    NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                         [See Fed.R.Crim.P. 32.21


                                                 I.

                        Firearms Violations and Forfeiture Statutes
[Title 18 U.S.C. § 922(a)(1)(A), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
              made applicable to criminal forfeiture by Title 28 U.S.C. § 24611
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          As a result of the foregoing criminal violations set forth in Count One, the United States

 of America gives notice to Defendant RICARDO SERRANO of its intent to seek the forfeiture

 of the below described property upon conviction and pursuant to Title       18 U.S.C. § 924(d)(1),

 made applicable to criminal forfeiture by Title 28 U.S.C.    §   2461, which states:

                 Title 18 U.S.C. ' 924
                 (d)(1) Any firearm or ammunition involved in or used in any . . . willful
                 violation of any other provision of this chapter or any rule or regulation
                 promulgated thereunder. . . shall be subject to seizure and forfeiture. . . under
                 the provisions of this chapter..


                                                   II.

This Notice of Demand for Forfeiture includes, but is not limited to, the following property:

    1.    Spike's Tactical LLC, Model: ST-i 5 Crusader, multi-caliber rifle, bearing serial number
       DVO3 1784;
    2. Bravo Company, Model: BCM4, multi-caliber rifle, bearing serial number A039036;
    3. Aero Precision, Model: M4E1, multi-caliber rifle, bearing serial number M400006261;
    4. Core 15, Model: CORE15, multi-caliber rifle, bearing serial number GTOC10003O;
    5. Dreadnaught Industries, Model: DI-15, multi-caliber rifle, bearing serial number Z000334;
    6. Any and all related ammunition and firearms accessories; and

                                          Money Judgment

         Money Judgment- A sum of money equal to One Hundred Seven Thousand
         Two Hundred Fifty Dollars ($107,250.00) which represents the value
         of any proceeds obtained as a result of the violations set forth in Count 1 for
         which Defendant is liable.

                                          Substitute Assets

         If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of Defendant:

         a.     cannot be located upon the exercise of due diligence;
         b.     has been transferred or sold to, or deposited with, a third party;
         c.     has been placed beyond the jurisdiction of the court;
         d.     has been substantially diminished in value; or
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        e.         has been commingled with other property which cannot be divided without
                   difficulty;

it is the intent   of the United States of America to seek forfeiture of any other property, up to the

value of said money judgment, as substitute assets pursuant to Title 21 U.S.C.      §   853@) and Fed.

R. Crim. P. 32.2(e)(1).




                                                        Respectfully submitted,

                                                        JOHN F. BASH
                                                        United States Attorney




                                                        Assistant Umted States Attorney
